                                                                                                             Case 4:07-cv-05944-JST Document 1841-1 Filed 08/12/13 Page 1 of 2



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                                                                                                     13   and Tech Data Product Management, Inc.

                                                                                                     14                               UNITED STATES DISTRICT COURT
                                                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                                     15                                 (SAN FRANCISCO DIVISION)
                                                                                                     16
                                                                                                           In re: CATHODE RAY TUBE (CRT)                 Master File No. 07-5944 SC (N.D. Cal.)
                                                                                                     17    ANTITRUST LITIGATION
                                                                                                                                                         MDL No. 1917
                                                                                                     18    __________________________________
                                                                                                           This Document Relates to Individual Case
                                                                                                     19    No. 13-CV-00157-SC                            [PROPOSED] ORDER REGARDING TECH
                                                                                                                                                         DATA CORPORATION AND TECH DATA
                                                                                                     20
                                                                                                           TECH DATA CORPORATION; TECH                   PRODUCT MANAGEMENT, INC.’S
                                                                                                     21    DATA PRODUCT MANAGEMENT,                      NOTICE OF UNAVAILABILITY FOR
                                                                                                           INC.,
                                                                                                                                                         STATUS CONFERENCE
                                                                                                     22
                                                                                                                           Plaintiffs,
                                                                                                     23            vs.
                                                                                                     24    HITACHI, LTD; et al.
                                                                                                     25
                                                                                                                           Defendants.
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                                                                                                          TECH DATA'S NOTICE OF UNAVAILABILITY                             MASTER FILE NO. 07-5944 SC (N.D. CAL.)
                                                                                                          FOR STATUS CONFERENCE                                             INDIVIDUAL CASE NO. 13-CV-00157 SC
                                                                                                             Case 4:07-cv-05944-JST Document 1841-1 Filed 08/12/13 Page 2 of 2



                                                                                                      1          The Court, having considered the Tech Data Corporation and Tech Data Product
                                                                                                      2   Management’s (“Tech Data”) Notice of Unavailability, and it appearing to the Court that there is
                                                                                                      3   good cause shown, the Court makes the following Order:
                                                                                                      4          IT IS HEREBY ORDERED that the Tech Data and Bilzin are excused from attending the
                                                                                                      5   September 13, 2013 status conference due to the Yom Kippur Holiday.
                                                                                                      6          IT IS FURTHER ORDERED that Tech Data and Bilzin [are/are not] authorized to appear
                                                                                                      7   telephonically for the status conference.
                                                                                                      8          IT IS SO ORDERED.
                                                                                                      9

                                                                                                     10          Dated: ________________, 2013.
                                                                                                     11
Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Avenue, Suite 2300




                                                                                                                                                      ________________________________________
                                                                                                     12
                                                                                                                                                            Hon. Samuel Conti
                                                                              Miami, FL 33131-3456




                                                                                                     13                                                     United States District Judge

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                                                                                                          TECH DATA'S NOTICE OF UNAVAILABILITY                              MASTER FILE NO. 07-5944 SC (N.D. CAL.)
                                                                                                          FOR STATUS CONFERENCE                                              INDIVIDUAL CASE NO. 13-CV-00157 SC
